               IN THE UNITED STATES DISTRICT COURT 
              FOR THE MIDDLE DISTRICT OF TENNESSEE 
                              AT NASHVILLE 
                                        
JANE DOE,                           ) 
                                    ) 
    Plaintiff,                      ) 
v.                                  )       No. ______________________ 
                                    )       JURY DEMAND 
MEHARRY MEDICAL COLLEGE, ) 
                                    ) 
    Defendant.                      ) 
 
                          VERIFIED COMPLAINT 
 
    Plaintiff Jane Doe, through counsel, files this suit for injunctive relief, 

including a preliminary and final injunctive relief and money damages, against 

Defendant Meharry Medical College and avers as follows:  

                              JURISDICTION & VENUE 

       1.     This Court has jurisdiction pursuant to 28 U.S.C. § 1331, which gives a 

district court jurisdiction over all civil actions arising under the Constitution, laws, 

and treaties of the United States of America. The federal claims arise under Title 

III of the Americans with Disabilities Act of 1990, ​42 U.S.C.​ ​§ 12101​, ​et seq.​, the 

Rehabilitation Act of 1973, 29 U.S.C. § 701​, et seq​., and Title IX of the Education 

Amendments of 1972, 20 U.S.C. § 1681, ​et seq.  

       2.     The Court has supplemental jurisdiction over the Tennessee state law 

claims and should exercise jurisdiction pursuant to 28 U.S.C. § 1367 for the 

following reasons: 




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      a. The action for violations of the federal laws set forth in Paragraph 1 

           herein, namely: the Americans with Disabilities Act of 1990, ​42 

           U.S.C.​ ​§ 12101​, ​et seq.​, the Rehabilitation Act of 1973, 29 U.S.C. § 701​, et 

           seq​., and Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681, 

           et seq.​ and jurisdiction for these actions is conferred on the Court by 28 

           U.S.C. § 1331.   

      b. The state law claims, breach of contract, express or implied and breach of 

           the covenant of good faith and fair dealing are so related to the claims in 

           the federal causes of action that the claims form part of the same case or 

           controversy under Article III of the Constitution.   

      c. The stated cause of action neither raises a novel nor a complex issue of 

           state law nor does it substantially predominate over the federal claims.   

      d. There are no other compelling reasons for the Court to decline jurisdiction 

           over the state law claims.  

      3.      Venue is proper in this district pursuant to 28 U.S.C. § 1391 since 

Defendant Meharry Medical College is located in this district and a substantial part 

of the events giving rise to this Complaint occurred in this judicial district. 

                                          PARTIES 

      4.      In June 2016, Plaintiff Jane Doe began her studies at Meharry Medical 

College. She intended to graduate with a degree in medicine and also to earn a 

master’s degree in public health in about May 2021.   




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       5.     Defendant Meharry Medical College, hereinafter “Meharry,” is a public 

benefit corporation doing business as a medical school that accepts federal funding 

and is located in Nashville, Tennessee. Service of process for Meharry may be had 

by serving or delivering a copy of the summons and complaint to an officer or 

managing agent of Meharry including its general counsel as the registered agent for 

service of process.   

                          STATEMENT OF THE FACTS 

       6.     As a high school student, Jane Doe was academically outstanding, 

participated in extracurricular activities, and never had an honor code violation. 

       7.     For her higher education, Jane Doe’s goal was then and is now to 

become a licensed, practicing medical doctor with a master’s degree in public health 

in order to combine the two disciplines to serve her patients at a high level of 

professionalism.      

       8.     For her higher education, Jane Doe had numerous options but chose to 

attend Fisk University to take advantage of its pathway to Meharry for a medical 

degree and a master’s degree in public health.  

       9.     In May 2016, Jane Doe graduated from Fisk University. 

       10.    In about June 2016, Jane Doe began her first semester at Meharry, 

during which she passed all courses. 

       11.    In January 2017, Jane Doe began her second semester at Meharry, 

during which she also passed all courses.  




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      12.    During her studies at Meharry, in the Spring of 2018, Jane Doe 

worked in a clinic with obese children in a life fitness program under Dr. Kimberlee 

Wyche-Etheridge.   

      13.    During her studies at Meharry, Jane Doe also worked two jobs in order 

to meet her financial obligations to Meharry of $25,000.00 per semester.  

      14.    In August 2017, Jane Doe:  

             a.    began her third semester at Meharry, 

             b.    went to the Meharry Student Clinic and the Meharry 

             Counseling Center for assistance with major depressive disorder, 

             anxiety, and other health matters that required her to visit a medical 

             provider, and   

             c.    failed a course called “MusculoSkeletal/Skin,” hereinafter 

             “MSS.” 

      15.    On November 20, 2017, Jane Doe took an on-line examination for a 

class called “Principles and Practice of Medicine 2A,” hereinafter, “PPM 2A”. 

      16.    It was a common practice at Meharry for students to take this on-line 

examination for PPM 2A from home. 

      17.    This practice was widely known by students and faculty at Meharry.   

      18.    Given her major depressive disorder, anxiety, and other health 

matters, Jane Doe took the on-line examination for PPM 2A at her home. 

      19.    Given her major depressive disorder, anxiety, and other health 

matters, if it had not been the common practice at Meharry for students to take the 



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on-line examination for PPM 2A from home, then Jane Doe would have been eligible 

to apply for a testing accommodation and would have applied for such an 

accommodation.  

      20.    Notwithstanding the common practice to take the on-line examination 

for PPM 2A from home, Jane Doe was accused of “examination dishonesty” for 

taking the on-line examination for PPM 2A at home. 

      21.    On November 27, 2017, Jane Doe had a meeting with Dr. Veronica T. 

Mallett, the Dean of the School of Medicine at Meharry, hereinafter “Dean Mallett,” 

in Dean Mallett’s office at Meharry to discuss Doe’s having taken the on-line 

examination for PPM 2A at home.   

      22.    At the meeting with Dean Mallett on November 27, 2017, Jane Doe 

told Dean Mallett about her major depressive disorder, anxiety, and other health 

matters. 

      23.    On November 29, 2017, pursuant to a letter from Dean Mallett, Jane 

Doe was dismissed from Meharry for “examination dishonesty” for taking the 

on-line examination for PPM 2A at home. A redacted copy of the dismissal letter 

dated November 29, 2017 is attached as Exhibit A. 

      24.    Jane Doe had no hearing before the Student Discipline Committee, 

hereinafter “the Committee,” before she was dismissed by Dean Mallett, contrary to 

the provisions of the Meharry Medical College Student Handbook for the academic 

year 2016 – 2017 and the Meharry Medical College School of Medicine Student 

Academic Policies and Procedures Manual.   



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      25.     At the time of Jane Doe’s dismissal, the Meharry Student Code of 

Professional Conduct’s definition of “Examination Dishonesty” did not include 

taking an on-line examination at home.   

      26.     Upon information and belief, Meharry chose to end the practice of 

taking on-line examinations at home by using “examination dishonesty” as an ​ex 

post facto​ pretext to make an example of Jane Doe and others. 

      27.     The dismissal prevented Jane Doe from attending her then current 

classes at Meharry, including a class called “Gastro-Intestinal,” hereinafter “GI.” 

      28.     The dismissal also prevented Jane Doe from taking the mid-term 

examination in GI. 

      29.     On December 7, 2017, Jane Doe appealed her dismissal to the 

Committee. 

      30.     The next day, on December 8, 2017, the Committee reinstated Jane 

Doe; however, the Committee imposed a grade of zero for the PPM 2A examination. 

A redacted copy of the Committee’s letter dated December 8, 2017 is attached as 

Exhibit B. 

      31.     At the time of her reinstatement, even with the grade of zero for the 

examination, Jane Doe still had a passing grade in PPM 2A course. 

      32.     After her reinstatement, Jane Doe was allowed to return to classes. 

      33.     Nevertheless, the 10-day dismissal had caused Jane Doe to miss GI 

classes and to miss taking the GI mid-term.  




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      34.    On December 15, 2017, Jane Doe took the final examination in GI, but 

failed to pass that examination, which caused her to fail the GI course. 

      35.    When she took the final examination in GI, Jane Doe had been 

diagnosed the day before with the flu and had been given Tamiflu to alleviate the 

symptoms, but was required to take the examination anyway. 

      36.    Rather than allow Jane Doe to take the usual remedial examination 

for the GI final, Meharry only allowed her to take the mid-term that she missed 

while on dismissal status.  

      37.    In addition to failing GI, Jane Doe also failed PPM 2A after her 

professor gave her an additional grade of zero in that class for the “professionalism” 

component of the grade for taking the on-line examination at home. 

      38.    The grade of zero for “professionalism” was given at the “discretion of 

the teacher.” 

      39.        “Professionalism” is defined by Meharry in terms of personal 

appearance, deportment, and professional courtesy and cannot be construed as 

providing a double punishment for alleged examination dishonesty.   

      40.    Before taking the PPM 2A on-line examination at home, Jane Doe had 

maintained a passing grade point average (GPA) at Meharry and had no honor code 

allegations or violations charged or found against her. 

      41.    After taking the PPM 2A on-line examination at home, Jane Doe failed 

two classes: PPM 2A and GI. 

      42.    Jane Doe failed PPM 2A as the direct result of 



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             a.     the grade of zero imposed by Meharry for purported 

             “examination dishonesty” in the class, and 

             b.     the grade of zero imposed by Meharry for a purported lack of 

             “professionalism” in the class. 

      43.    In fact, Jane Doe is innocent of “examination dishonesty” and did not 

exhibit a lack of “professionalism.”   

      44.    Jane Doe failed the GI course as the direct result of  

             a.     her dismissal from Meharry on November 29, 2017 without a 

             hearing by the Committee,   

             b.     her exclusion from campus and from GI classes during her 

             dismissal,  

             c.     her exclusion from taking the GI mid-term examination during 

             her dismissal,  

             d.     the failure of Meharry to allow her to take a remedial GI final 

             examination as allowed by Meharry’s policies, 

             e.     her being required to take the GI final examination in spite of 

             having the flu and being on Tamiflu during the examination,        and  

             f.     her major depressive disorder, anxiety, and other health 

             problems which were exacerbated during her dismissal and its 

             aftermath. 

 

 



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      45.    In January 2018, Jane Doe began her fourth semester at Meharry. 

      46.    On January 12, 2018, the Student Evaluation and Promotion 

Committee, hereinafter “the SEPC,” decided that Jane Doe must retake the PPM 

2A course in the 2018/2019 academic year. 

      47.    During her meeting with the SEPC, Jane Doe was not advised that she 

could take an involuntary leave of absence due to her anxiety, depression, and other 

health problems or apply for testing accommodations.   

      48.    During her fourth semester, Jane Doe failed the course called 

“Endocrine & Reproduction,” hereinafter “IEMR,” as the direct result of 

             a.     her major depressive disorder, anxiety, and other health 

             matters, and 

             b.     the increased severity of her major depressive disorder, anxiety, 

             and other health matters as a consequence of Meharry’s actions 

             regarding her dismissal, reinstatement, and failing grades in       PPM 

             2A and GI.  

      49.    On May 16, 2018, the SEPC met to consider a finding of “academic 

incompetence” against Jane Doe due to her having received a grade of “F” in courses 

totaling greater than or equal to 22 credit hours in a single academic year.  

      50.    On May 18, 2018, the SEPC dismissed Jane Doe from Meharry due to 

the cumulative effect of her having failed PPM 2A, GI, IEMR, and MSS. A redacted 




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copy of that dismissal letter, erroneously dated May 15, 2018, is attached as Exhibit 

C. 

        51.   Had the passing grade that Jane Doe earned in PPM 2A been recorded 

without sanctions for taking the on-line examination at home, then she would not 

have failed PPM 2A and would not have been subject to dismissal by the SEPC. 

        52.   Had Jane Doe not been excluded from attending classes in the GI 

course and taking the GI mid-term examination during her 11-day dismissal, then 

she would not have failed the GI course and would not have been subject to 

dismissal by the SEPC. 

                                          COUNT I 

VIOLATION OF TITLE III OF THE AMERICAN WITH DISABILITIES ACT 

        53.   Plaintiff refers to and incorporates each of the foregoing 

paragraphs as if fully restated herein. 

        54.   Title III of the Americans with Disabilities Act of 1990, hereinafter the 

“ADA”, ​42 U.S.C.​ ​§ 12101​, ​et seq.​, is a ​civil rights​ law that prohibits ​discrimination 

based on ​disability​. 

        55.   Pursuant to 42 U.S.C. § 12182(a), Meharry cannot discriminate 

against Jane Doe “on the basis of disability.”  

        56.   Pursuant to 42 U.S.C. § 12182(b)(2)(A)(ii), discrimination includes 

failing to make “reasonable modifications in policies, practices, or procedures” to 

accommodate Jane Doe, unless the modifications would “fundamentally alter the 

nature” of the services. 



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      57.    Jane Doe suffered from anxiety, depression, and other health issues for 

which she sought help at the Meharry Student Clinic and the Meharry Counseling 

Center during her third semester at Meharry.   

      58.    If Meharry did not have a practice to allow the taking of on-line 

examinations at home, then Jane Doe would have applied for a testing 

accommodation. 

      59.    Meharry prevented Jane Doe from making a timely application for a 

testing accommodation by using the pretense of “examination dishonesty” to end the 

practice of taking on-line examination at home.  

      60.    As a result of Meharry’s violation of the ADA, Jane Doe:  

             a.    has suffered substantial harm in the form of failing grades in 

             the course called PPM 2A and GI; 

             b.    has had an “examination dishonesty” finding against her; 

             c.    has been wrongfully dismissed from Meharry; and 

             d.    has suffered substantial harm, including irreparable harm in 

             the form of destruction of her reputation and detriment to future 

             employment opportunities.  

      61.    As a result of Meharry’s violation of the ADA, Jane Doe has also 

incurred significant monetary and emotional damages. 

 

 

 



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                                        COUNT II 

  VIOLATION OF SECTION 504 OF THE REHABILITATION ACT OF 1973 

       62.    Plaintiff refers to and incorporates each of the foregoing paragraphs as 

if fully restated herein. 

       63.    The Rehabilitation Act of 1973, 29 U.S.C. § 701​, et seq​., is a ​civil rights 

law that prohibits ​discrimination​ based on ​disability​. 

       64.    Section 504 of the Rehabilitation Act prohibits a federally-funded 

program from discriminating against an “otherwise qualified individual with a 

disability” because of her disability.  

       65.    Pursuant to 29 U.S.C. § 794(a), Jane Doe is an “otherwise qualified 

individual with a disability.” 

       66.    Pursuant to ​28 C.F.R. § 41.53​, as an otherwise qualified individual, 

Jane Doe should receive in a timely manner the reasonable accommodation that she 

requested. 

       67.    There is a direct causal link between Meharry’s terminating a practice 

to allow taking on-line examinations at home without first allowing Jane Doe to 

apply for a reasonable accommodation for taking an examination as an alternative.  

       68.    As a result of Meharry’s violation of the Section 504, Jane Doe:  

              a.     has suffered substantial harm, including irreparable harm in 

              the form of her dismissal from medical school, the destruction of her 

              reputation, and detriment to her future employment 

              opportunities; and 



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              b.     has also incurred significant monetary and emotional damages. 

                                      COUNT III 

              BREACH OF CONTRACT IMPLIED AND EXPRESS 

       69.    Plaintiff refers to and incorporates each of the foregoing paragraphs as 

if fully restated herein. 

       70.    Jane Doe’s relationship with Meharry is contractual in nature, both 

express and implied.   

       71.    Pursuant to Jane Doe’s contract with Meharry, Meharry agreed, 

among other things: 

              a.     to provide Jane Doe with academic instruction;          

              b.     to follow the provisions of the Meharry handbook and student 

              policies in a fundamentally fair manner; and  

              c.     to treat Jane Doe with fundamental fairness and equity without 

              penalty or bias. 

       72.    As consideration for the contract, Jane Doe paid money to Meharry as 

tuition. 

       73.    Meharry breached its contractual commitment to Jane Doe: 

              a.     by failing to provide her with timely notice that the practice of 

              taking on-line examinations at home would no longer be  allowed; 

              b.     by failing to provide her with a timely opportunity to apply for a 

              reasonable accommodation for taking the PPM 2A examination;  




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              c.     by using an allegation of “examination dishonesty” to make an 

              example of Jane Doe; 

              d.     by failing to treat Jane Doe with fundamental fairness in its 

              manner of dismissing Jane Doe on or about November 29, 2017;  and   

              e.     by failing to give Jane Doe a meaningful hearing before the 

              Committee when dismissing her on or about November 29, 2017.   

        74.   Jane Doe relied to her detriment on Meharry’s implied promise of 

fundamentally fair treatment. 

        75.   As a result of Meharry’s breach of contract, Jane Doe: 

              a.     has suffered substantial harm, including irreparable harm in 

              the form of destruction of her reputation and detriment to future 

              graduate school and employment opportunities; and 

              b.     has also incurred significant monetary and emotional damages 

              as a result of Meharry’s breach of contract. 

                                      COUNT IV 

BREACH OF IMPLIED COVENANT OF GOOD FAITH AND FAIR DEALING 

        76.   Plaintiff refers to and incorporates each of the foregoing paragraphs as 

if fully restated herein. 

        77.   Meharry did not deal fairly, equitably, and in good faith with Jane 

Doe. 




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       78.    Jane Doe has suffered harm as a result of Meharry’s violation of its 

obligations under the implied covenant of good faith and fair dealing/obligation of 

good faith performance. 

       79.    As a result of Meharry’s breach of its covenants of good faith and fair 

dealing, Jane Doe: 

              a.      has suffered substantial harm, including irreparable harm in 

              the form of destruction of her reputation and detriment to future 

              graduate school and employment opportunities; and 

              b.      has also incurred significant monetary damages as a result of 

              Meharry’s breach of the covenant. 

                                       COUNT V 

                              VIOLATION OF TITLE IX 

       80.    Plaintiff refers to and incorporates each of the foregoing paragraphs as 

if fully restated herein. 

       81.    Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681, ​et 

seq.​, is a federal civil rights law that prohibits discrimination on the basis of sex in 

any education program or activity that receives federal funding. 

       82.    In violation of 20 U.S.C. § 1681(a), Meharry discriminated against 

Jane Doe on the basis of her sex by failing to grant her requested accommodations 

in a timely manner and by conducting an Honor Council meeting that did not 

conform to fundamental fairness.  

 



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       83.    As a result of Meharry’s violation of Title IX, Jane Doe: 

              a.     has suffered substantial harm, including irreparable harm in 

                     the form of dismissal from Meharry, destruction of her 

                     reputation, and detriment to future employment opportunities; 

                     and 

              b.     has also incurred significant monetary damages as a result of 

                     Meharry’s violation. 

                                   INJUNCTIVE RELIEF 

      84.     Plaintiff requests that the Court enter a preliminary injunction and 

after trial, a permanent injunction. 

      85.     Absent the Court granting Plaintiff a preliminary injunction, the 

following will result:  

              a.     Plaintiff is suffering and likely suffer immediate and 

                     irreparable harm if a preliminary injunction is not granted 

                     before a decision on the merits is reached: she will not be able to 

                     complete her medical school education, her reputation and name 

                     are stained on the face of her transcript and medical school 

                     records, and her medical studies are interrupted at a critical 

                     time during medical school.  

       b.     Plaintiff has a likelihood or strong likelihood of success on 

              the merits;  




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             c.       The balance of hardships for granting an injunction tips in favor 

                      of Plaintiff; and  

             d.       Granting a preliminary injunction is in the public interest.  

       86.   Plaintiff further has met the requirements for a permanent injunction 

after a trial on the merits.         

                                        JURY DEMAND 

       87.   Plaintiff hereby demands by a jury on all issues triable by a jury. 

                                            DEMAND 

       Wherefore, Plaintiff asks the Court for a judgment against the Defendant as 

follows: 

       1.    For an order entered finding Meharry liable for each of the Causes of 

Action above; 

       2.    For the Court to issue a Preliminary Injunction ordering Defendant:  

             a. To reinstate Jane Doe as a student in good standing at Meharry 

                   with her original passing grade in PPM 2A; 

             b. To expunge and remove, and delete from all of Defendant’s records, 

                   books, transcripts, electronically stored information or date or other 

                   document (written or otherwise), and books all allegations, 

                   reference or mention or of any “examination dishonesty,” “academic 

                   incompetence,’ or “academic failure” from Doe’s record;  

             c. Except for the purposes of removing the information set forth in 

                   Paragraph 2b above, never to report, state, allude or mention to any 



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                  other person, faculty of staff at Meharry that Jane Doe was accused 

                  or charged with examination dishonesty, academic incompetence, or 

                  academic failure; 

               d. Never to report, state, allude to, or provide never to any person, 

                  institution or other entity that Jane Doe was accused or charged 

                  with examination dishonesty, academic incompetence, or academic 

                  failure and not to provide any record or transcript that states or 

                  reflects such, directly or indirectly; and  

               e. Not to retaliate against Jane Doe for asserting or vindicating her 

                  right under federal law.  

               f. To take no action against Jane Doe based on or related to the 

                  accusations or charges made by Defendant against her regarding 

                  alleged cheating, academic failure or academic incompetence.  

      3.       After trial, for the Court to order a permanent injunction against 

Defendant.  

      4.       For the jury or the Court to award compensatory damages of One 

Million Dollars ($1,000,000.00) to Plaintiff. 

      5.       For an order directing Meharry to pay reasonable attorneys’ fees and 

costs incurred by Jane Doe; 

      6.       For a jury to hear and decide all issues and questions that a jury may 

hear and decide;  

      7.       For the Court to expedite the case on its docket; 



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      8.     For other relief as the law and justice permit and the Court deems

appropriate to vindicate Plaintiff’s rights. 



                                         Respectfully submitted, 


                                         s/ Perry A. Craft
                                         Perry A. Craft, BPR # 006056 
                                         Law Office of Perry A. Craft, PLLC 
                                         402 BNA Drive, Suite 202 
                                         Nashville, Tennessee 37217 
                                         Telephone: (615) 953-3808 
                                         Facsimile: (615) 739-6292 
                                         Email: ​perrycraft@craftlegal.com 



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      Dated this _________ day of July, 2018. 


                                   VERIFICATION 

      I, using the pseudonym Jane Doe, having first taken an oath, declare under 

penalty of perjury as follows: 

      1.     I am over the age of eighteen (18) years and competent to testify in this

matter. 

      2.     The facts stated in the Verified Complaint are true and correct.



                                                                    Doe
                                                 Jane
                                                 ________________________________ 
                                                 AFFIANT 
                                                 JANE DOE PSEUDONYM 




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